Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 1 of 39 Pageid#: 4167




                    IN THE UNITED STATES DISTRICT COURT

                    FOR THE WESTERN DISTRICT OF VIRGINIA

                           CHARLOTTESVILLE DIVISION



     ELIZABETH SINES, et al.,            )
                                         )
                    Plaintiffs,          )   Civil Case No. 3:17-CV-00072
                                         )
     vs.                                 )
                                         )
     JASON KESSLER, et al.,              )
                                         )
                    Defendants.          )

     ____________________________________________________________

                     TRANSCRIPT OF TELEPHONIC HEARING
           HONORABLE MAGISTRATE JUDGE JOEL C. HOPPE PRESIDING
                    MONDAY, MARCH 18, 2019, 4:08 P.M.
     ____________________________________________________________




     Court Reporter:            Judy K. Webb, RPR
                                210 Franklin Road, S.W., Room 540
                                Roanoke, Virginia 24011
                                (540)857-5100 Ext. 5333


                  Proceedings recorded FTR and transcribed using
     Computer-Aided Transcription
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 2 of 39 Pageid#: 4168
                                                                         2
            Sines, et al. v. Kessler, et al. - 3/18/19

  1                         A P P E A R A N C E S

  2   On behalf of Plaintiffs Elizabeth Sines, Seth Wispelwey,
      Marissa Blair, Tyler Magill, April Muniz, Hannah Pearce,
  3   Marcus Martin, John Doe, Natalie Romero, and Chelsea Alvarado:

  4                 Jessica E. Phillips, Esquire
                    Boies Schiller Flexner, LLP
  5                 1401 New York Avenue, NW
                    Washington, DC 20005
  6
                    David E. Mills, Esquire
  7                 Cooley LLP
                    1114 Avenue of the Americas, 46th Floor
  8                 New York, NY 10036

  9                 Michael Low Bloch, Esquire
                    Roberta Ann Kaplan, Esquire
10                  Gabrielle E. Tenzer, Esquire
                    Kaplan Hecker & Fink LLP
11                  350 Fifth Avenue, Suite 7110
                    New York, NY 10118
12

13    On behalf of Defendants Jason Kessler; Christopher Cantwell;
      Vanguard America; Robert Azzmador Ray; Nathan Damigo; Elliot
14    Kline, also known as Eli Mosely; Identity Evropa; Matthew
      Heimbach; Matthew Parrott, also known as David Matthew
15    Parrott; Traditionalist Worker Party:

16                  James Edward Kolenich, Esquire
                    Kolenich Law Office
17                  9435 Waterstone Blvd., Suite 140
                    Cincinnati, OH 45249
18

19    On behalf of Richard Spencer:

20                  John A. DiNucci, Esquire
                    Law Office of John A. DiNucci
21                  8180 Greensboro Drive, Suite 1150
                    McLean, VA 22102
22

23

24

25
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 3 of 39 Pageid#: 4169
                                                                         3
            Sines, et al. v. Kessler, et al. - 3/18/19

  1                      A P P E A R A N C E S cont'd

  2   On behalf of Michael Hill, Michael Tubbs, and League of the
      South:
  3
                    Bryan Jeffrey Jones, Esquire
  4                 Bryan J. Jones, Attorney at law
                    106 W. South Street, Suite 211
  5                 Charlottesville, VA 22902

  6

  7   On behalf of Jeff Schoep, National Socialist Movement,
      Nationalist Front:
  8
                    William Edward ReBrook, IV, Esquire
  9                 The Rebrook Law Office
                    6013 Clerkenwell Court
10                  Burke, VA 22015

11

12    For James Stern:

13                  James Stern, Pro Se
                    12625 Frederick Street, Suite I-5
14                  Moreno Valley, VA 92553

15

16    Also Present:

17                  Brenton Vincenzes, Esquire
                    Jeff Schoep
18

19

20

21

22

23

24

25
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 4 of 39 Pageid#: 4170
                                                                         4
            Sines, et al. v. Kessler, et al. - 3/18/19

  1        (Court convened at 4:08 p.m.)

  2             UNIDENTIFIED MALE VOICE:     Hello.

  3             THE COURT:    Hi.   This is Joel Hoppe.

  4             UNIDENTIFIED MALE VOICE:     Hello.

  5             THE COURT:    Hello.   This is Joel Hoppe.

  6             UNIDENTIFIED MALE VOICE:     Hello.

  7             THE COURT:    Hold on a second.    I'm talking, okay?

  8             This is Joel Hoppe.    Who is on the line for the

  9   plaintiffs?

10              MR. BLOCH:    Good afternoon, Judge.     This is Michael

11    Bloch from Kaplan Hecker & Fink on behalf of the plaintiffs.

12    And I'm here with my colleague Gabrielle Tenzer.

13              MR. ReBROOK:    Hello, Judge.     This is Edward ReBrook.

14    I am the new attorney for the National Socialist Movement, the

15    Nationalist Front, and Mr. Jeff Schoep.       I'm being joined

16    with --

17              THE COURT:    Are the plaintiffs --

18              MR. ReBROOK:    -- [indiscernible].

19              THE COURT:    Hold on, Mr. ReBrook.     [Indiscernible]

20    and Justin.   All right.

21              Is anybody else on the line for plaintiffs?

22              MS. PHILLIPS:    Yes, Your Honor.

23              MS. KAPLAN:    Yes, Your Honor.

24              MS. PHILLIPS:    This is Jessica Phillips from Boies

25    Schiller Flexner, also for the plaintiff.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 5 of 39 Pageid#: 4171
                                                                         5
            Sines, et al. v. Kessler, et al. - 3/18/19

  1              MR. MILLS:    And David Mills from Cooley.

  2              MS. KAPLAN:    And Roberta Kaplan is on as well, Your

  3   Honor, but I'm deferring to my colleague Michael Bloch.

  4              MR. STERN:    And James Stern for the National

  5   Socialist Movement.      And this attorney -- my attorney just got

  6   disconnected, but he's calling back in, Brenton Vincenzes,

  7   who's going to be representing the National Socialist

  8   Movement, that you ordered me to find an attorney for.

  9              MR. ReBROOK:    I'm sorry, this is again Edward

10    ReBrook.

11               THE COURT:    Yeah, Mr. ReBrook --

12               MR. ReBROOK:    I am the attorney --

13               THE COURT:    -- stop.

14               MR. ReBROOK:    -- for the National Socialist

15    Movement --

16               THE COURT:    Mr. ReBrook, stop for a second, okay?

17    Listen, I'm going to address this with y'all in a minute, but

18    we're going to get to things in an orderly way.

19               MR. ReBROOK:    Understood.

20               THE COURT:    I'm just trying to see who is on the

21    phone right now.

22               MR. ReBROOK:    All right.

23               THE COURT:    There are a lot of people on the phone,

24    and I'm going to ask for you to speak when it's your time.

25    Okay?
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 6 of 39 Pageid#: 4172
                                                                         6
            Sines, et al. v. Kessler, et al. - 3/18/19

  1            MR. ReBROOK:    Understood.    My apologies.

  2            THE COURT:    All right.    Mr. Kolenich, are you on the

  3   phone?

  4            MR. KOLENICH:    Yes, sir.

  5            THE COURT:    All right.    And Mr. DiNucci?

  6            MR. DiNUCCI:    I'm here, Your Honor.

  7            THE COURT:    And, Mr. Jones, are you on the phone?

  8            MR. JONES:    Yes, Your Honor.

  9            THE COURT:    All right.    And Mr. Campbell?

10         (No response.)

11             THE COURT:    All right.    Now, are there any pro se

12    defendants on the phone?

13             MR. STERN:    Yes, Your Honor, James Stern.       You

14    ordered me to get a lawyer for -- to go out of pro se.

15             THE COURT:    All right.    And then, Mr. ReBrook, you're

16    here for at least Mr. Schoep and the Nationalist Front.          And I

17    understand that there is some disagreement --

18             MR. ReBROOK:    And the National Socialist Movement.

19             MR. SCHOEP:    I'm on the phone as well, Your Honor.

20    This is Jeff Schoep, one of the defendants.

21             MR. VINCENZES:     Hello, can you guys hear me?

22             THE COURT:    Yes.   Who just called in?

23             MR. VINCENZES:     This is attorney Brent Vincenzes

24    speaking.

25             MR. STERN:    For the National Socialist Movement.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 7 of 39 Pageid#: 4173
                                                                         7
            Sines, et al. v. Kessler, et al. - 3/18/19

  1            THE COURT:    All right.    Mr. Vincenzes, who are you

  2   calling on behalf of?

  3            MR. VINCENZES:     I am -- so just to be clear, I am a

  4   Virginia state bar licensed attorney.       I am admitted to the

  5   Eastern District.    I am not admitted to the Western District

  6   at this time; I can be, but I have not been retained yet.           But

  7   I'm calling on behalf of Mr. Stern.

  8            THE COURT:    Mr. Stern is not a party to this lawsuit;

  9   the National Socialist Movement is.       So, Mr. Vincenzes, I

10    think I provided instructions that if you wanted to

11    participate you would have to be here in person to sit in, in

12    the courtroom.   So if you want to get admitted in this

13    district and file a notice of appearance, you can do that;

14    otherwise, you're not participating in this call.         I'm not

15    going to make you hang up, but -- you can listen in, but

16    that's it.   I think my instructions were pretty clear, and it

17    sounds like they were not followed.

18             MR. VINCENZES:     I'm sorry?   Not followed?

19             THE COURT:    That's right.     It sounds like they were

20    not followed.

21             Mr. Vincenzes, when you file a notice of appearance

22    and get admitted in this district, then I'll be happy to hear

23    from you if you're representing a named party in the case,

24    okay?

25             MR. VINCENZES:     I'm sorry, I did -- I'm unclear.        I
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 8 of 39 Pageid#: 4174
                                                                         8
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   didn't mean to not follow the instructions.        I was just --

  2   received a phone call saying I could call in.        But I can hang

  3   up if you would like me to.

  4            THE COURT:    You can listen in -- you can listen in,

  5   but that's it.

  6            MR. VINCENZES:     Okay.   I won't say a word.     That's

  7   fine.

  8            THE COURT:    And, Mr. ReBrook, I understand that

  9   you've been admitted in this district at this time but you

10    haven't filed a notice of appearance on behalf of any

11    defendants.   You need to --

12             MR. ReBROOK:    I just [indiscernible] --

13             THE COURT:    Hold on.

14             MR. ReBROOK:    -- [indiscernible] --

15             THE COURT:    Hold on.

16             MR. ReBROOK:    -- [indiscernible] --

17             THE COURT:    Mr. ReBrook.    Mr. ReBrook, stop talking

18    over me, all right?

19             Listen, there are a lot of people on the phone.          We

20    have a number of things to address; we're going to do this in

21    an orderly way.    I'm going to listen to you, you're going to

22    listen to me.    That's how we have to do that in this district,

23    okay?

24             Now, you need to file a written notice of appearance.

25    And every communication with the Court, and this goes for
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 9 of 39 Pageid#: 4175
                                                                         9
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   everyone, needs to be formal.      If it's through an e-mail,

  2   everyone needs to be copied on it.      I won't tolerate any ex

  3   parte -- any inappropriate ex parte communications from

  4   anyone, and I want to be real clear about that going forward.

  5            All right.    Now, there are a number of things that we

  6   need to address here today; first is attorney status.         I think

  7   we've gone over that for the most part.

  8            We also need to get an update on discovery.         And the

  9   plaintiffs did send an e-mail, copying everyone in the case,

10    providing an update about where things stand with the

11    production of ESI and the defendants turning over devices and

12    access to social media accounts.

13             Mr. Bloch, is there -- is there anything additional

14    to add to your report?

15             MR. BLOCH:    Judge, I don't think there's anything

16    additional.   I think the kind of two overarching concerns that

17    we have that are sort of touched upon in the e-mail are,

18    number one, there are obviously still some devices and

19    accounts that have yet to be turned over.

20             And number two is the appearance of a number of

21    additional social media accounts that have surfaced in various

22    ways have kind of undermined our confidence that the

23    stipulations that were signed and sworn by defendants are sort

24    of entirely reliable and in terms of being able to have some

25    confidence that we understand the entire universe of social
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 10 of 39 Pageid#: 4176
                                                                        10
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   media accounts and devices that contain potentially responsive

  2   documents.

  3              So the only thing that's sort of additional that I

  4   didn't mention in the e-mail is that I think it would be

  5   helpful for us to have new certifications from each party that

  6   kind of swears to a comprehensive list of social media

  7   accounts and devices that contain potentially responsive

  8   documents.    I think it's clear at this point that the ones

  9   that were submitted in December are not entirely complete.

 10              THE COURT:   All right.   Mr. Kolenich, there were --

 11   some of the plaintiffs' concerns about the completeness of the

 12   certifications are directed to some of your clients.

 13              Yeah, I'm thinking about how we do this in an orderly

 14   way so that I can hear from each party about -- about the

 15   completeness of the certifications, but also, we need to bring

 16   this portion of discovery to a close, and I want to do it -- I

 17   want to do it soon.

 18              So, you know, Mr. Kolenich, I would like to hear from

 19   you now.    It also may be that, you know, we need to move to a

 20   more formal motions practice at this time, too, so that if

 21   it's -- if your clients don't want to do updated

 22   certifications, that perhaps there can be a, you know,

 23   written -- written motion and then response on your part, and,

 24   you know, the client's -- you know, the client's signature

 25   indicating what has been provided and what hasn't and why.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 11 of 39 Pageid#: 4177
                                                                        11
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   There may be a couple of ways to do this, but I do think we

  2   need to -- we need to bring to this a conclusion.

  3             Mr. Kolenich, what do you have to say?

  4             MR. KOLENICH:    No, I understand, Your Honor.       I think

  5   that Mr. Bloch's take on this is a little, little bit over the

  6   top for what's going on.     We've been in communication with the

  7   ESI vendor and they're aware of, you know, the status of

  8   what's being mailed and when and, you know, why things are

  9   being sent in piecemeal, and they haven't expressed any

 10   problems with that.    So I'm not sure why Mr. Bloch is

 11   complaining on that particular issue.

 12             But if I could just go one by one, I think that's the

 13   only way this will make any sense to the Court.

 14             THE COURT:   All right.

 15             MR. KOLENICH:    Mr. Parrott has mailed his stuff last

 16   week, and I have the FedEx or USPS number, whatever it is,

 17   tracking number provided to the ESI vendor, and his stuff

 18   should have arrived either today or tomorrow.

 19             Vanguard, I'll save them for last.

 20             Identity Evropa has sent the Discord authorization

 21   that Mr. Bloch requested, or that the plaintiffs requested.

 22             There are so many lawyers over there, I don't mean to

 23   blame you, Mr. Bloch.     Sorry.

 24             As far as I know, Identity Evropa is fully

 25   cooperative, and I want to underline that for the Court.          Most
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 12 of 39 Pageid#: 4178
                                                                        12
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   of my clients are fully and enthusiastically cooperative with

  2   this.   This is not some sort of willful disobedience to what's

  3   expected by the Court or by the plaintiffs.        So especially

  4   Identity Evropa is enthusiastically cooperative.         And this new

  5   Discord and these social media they are discussing were all

  6   post Charlottesville and contained next to nothing responsive

  7   to a discovery request.     I know they're not going to take my

  8   guy's word for that, but that's where it is.

  9             And that will -- you know, they're paying to find

 10   that out the long way, the hard way, whatever.         That's fine.

 11   They'll have full and complete access to anything that IE has.

 12   And they already have the Discord release.        This just wasn't

 13   something that -- since it didn't discuss Charlottesville,

 14   they didn't believe it was responsive or needed to be turned

 15   over, or the planning of Charlottesville.

 16             Moving on to Mr. Ray.     The ESI vendor is aware of why

 17   Mr. Ray's laptop -- you know, he uses that for work, so when

 18   he gets the first one back, he will send the second one in,

 19   you know, when he has a day that he cannot do his particular

 20   line of work.

 21             This Gab, Kyrpto Report stuff, he doesn't have those

 22   pass codes.   That's old stuff.     He has the current Kyrpto

 23   Report password, so I'm not sure why they're saying that he

 24   hasn't provided that.

 25             And as far as the comment section for the Daily
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 13 of 39 Pageid#: 4179
                                                                        13
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   Stormer website, I don't understand that.        You know, the ESI

  2   vendor did say that, that he said "does not remember."          But

  3   that can't be accurate, because that's a thing that he uses

  4   currently with his job.     So I'll run down why the ESI vendor

  5   is saying that.    I have a call scheduled with them tomorrow,

  6   and we'll see -- you know, we'll get that squared away.

  7             THE COURT:   And Mr. -- Mr. Kolenich, I'm sorry.        For

  8   Mr. Ray, the Discord, it looks like there are a couple of

  9   Discord accounts that he doesn't have the password for.          Does

 10   he have a password for any of them?

 11             MR. KOLENICH:    It was my understanding that he does

 12   not, Your Honor, but I will circle back on that and make sure

 13   that I'm clear on what Ray is saying to the ESI vendor.          In

 14   order to be as efficient as possible, I had the clients, with

 15   the ESI vendor's permission, contact Ms. Kaitlyn Seely

 16   [phonetic] directly, and that was working.        But as far as I

 17   know, she was squared away with Mr. Ray my last communication

 18   with her.   I would like to, you know, have a day to speak with

 19   her, speak with Mr. Ray and see what the problem is with

 20   miscommunication.

 21             It can't be right that he doesn't have Daily Stormer

 22   pass codes for the media.      The comment section, that's

 23   something he uses on a daily basis.       That can't be accurate

 24   information.

 25             THE COURT:   Okay.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 14 of 39 Pageid#: 4180
                                                                        14
            Sines, et al. v. Kessler, et al. - 3/18/19

  1             MR. KOLENICH:    Vanguard is a problem.      Vanguard has

  2   not turned over the devices they were supposed to turn over

  3   and is not listening to counsel on the necessity of hurrying

  4   up and providing this stuff, so I really don't have anything

  5   to say in regard to them other than it might be useful for the

  6   Court to give them sort of a warning shot that, you know,

  7   you're not kidding, sanctions possible in this circumstance,

  8   and give them one last chance to comply.

  9             The situation with Vanguard is they really don't

 10   exist anymore in any kind of a real sense.        Obviously, they're

 11   in litigation and their officers are hanging on, trying to do

 12   their job in defending, but they don't want to be involved.

 13   And if their officers decide to just hang it up and leave the

 14   organization, I don't know who takes over at that point.

 15   There is a likely suspect.

 16             But the current guy who I've been dealing with is

 17   kind of frustrated with it all and doesn't want to deal with

 18   it.   So I think if the Court could send, you know, some

 19   sort of -- some sort of warning before actually imposing

 20   sanctions or making us go through motion practice, with

 21   Vanguard that might be useful to at least bring this to a

 22   conclusion that either he is or is not going to cooperate.

 23             THE COURT:   All right.    All right.    Well, you know, I

 24   have -- I have issued an order directing that the devices and

 25   account information be provided, and if it's -- and if you all
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 15 of 39 Pageid#: 4181
                                                                        15
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   agree, the plaintiffs' and Vanguard's counsel agree that it

  2   hasn't been done and that's clear, then, you know, it may be

  3   time to, you know, issue a show cause and give them a certain

  4   amount of time to be able to, you know, to rectify the

  5   violation of the order.     And, you know, if they do it

  6   within -- within that time, then perhaps the show cause order

  7   can be dismissed.    But if there just hasn't been any attempt

  8   to comply with my order, then I do think we need to move

  9   forward.

 10              MR. KOLENICH:   I can't say there has been, Your

 11   Honor.    And the show cause order is sort of exactly what I was

 12   envisioning.    I can't -- I can't deny that it had not been

 13   complied with.    There's been no indication that I can give the

 14   Court that there's been any effort to comply on that one

 15   client.

 16              THE COURT:   Okay.    All right.    Mr. Kolenich, anything

 17   else to report on those clients?

 18              MR. KOLENICH:   I think the only other thing is I

 19   already have the supplemental ESI declarations from Parrott

 20   and Kessler.    Those are the only ones the plaintiffs asked me

 21   for, so, you know, if they wanted a global one, it's news to

 22   me.   They didn't mention that before.        Other than that,

 23   nothing else, Your Honor.

 24              THE COURT:   Okay.    All right.    And, Mr. Jones, how

 25   about for Hill and Tubbs?       It looks like there -- there may be
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 16 of 39 Pageid#: 4182
                                                                        16
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   a few things outstanding for them as well.

  2              MR. JONES:   Yeah.   They have all their devices sent

  3   in, but plaintiffs have notified me of some new accounts that

  4   were not turned over.     Both Hill and Tubbs have said that a

  5   new recreated post Charlottesville sent them significantly

  6   after Charlottesville [indiscernible] is there.         But they said

  7   they didn't have any responsive information on it.         But I'm

  8   happy to have them sign a new stipulation and get that sent

  9   out here in the next day or two.

 10              THE COURT:   Okay.   All right.   And, Mr. ReBrook, it

 11   looks like Mr. Schoep is also mentioned in this -- in the

 12   e-mail.    Have you -- have you seen the e-mail from plaintiffs'

 13   counsel?    Do you know what I'm talking about?

 14              MR. ReBROOK:   I'm not certain what you're referring

 15   to, Your Honor.

 16              THE COURT:   So this is an e-mail that was sent to --

 17   it's all of the -- all of the attorneys of record in the case

 18   today, and it -- what it says for Mr. Schoep is that -- this

 19   is talking about providing devices and social media account

 20   credentials to a third-party vendor.

 21              What it says is that:    Although Defendant Schoep

 22   provided his cell phone to the vendor on March 11th, the

 23   vendor was unable to obtain any information from the device

 24   due to water damage, as Mr. Schoep reported that the phone had

 25   fallen in a toilet last year.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 17 of 39 Pageid#: 4183
                                                                        17
            Sines, et al. v. Kessler, et al. - 3/18/19

  1              Do you have any response on that, or any additional

  2   information?

  3              MR. ReBROOK:   I know that he mentioned the same thing

  4   to me prior to retaining me on this matter, that he had

  5   dropped his phone in the toilet at some point.         And I'm under

  6   the impression that he has turned over that phone, as well as

  7   the other things that have been demanded in the discovery

  8   request, to the third-party vendor.

  9              THE COURT:   All right.   Mr. Bloch, having heard from

 10   defendants' counsel, what are your -- what do you propose at

 11   this point?

 12              MR. BLOCH:   Thank you, Judge.    I think I understood

 13   with respect to Vanguard America.

 14              I think with respect to the other defendants who seem

 15   to still have outstanding materials, including Mr. Ray and

 16   Mr. Parrott, as well as Mr. Hill and Mr. Tubbs, I think it

 17   feels to us that the warning shots have already been sort of

 18   issued, and it seems to me to make sense, at least with

 19   respect to each of those people, that something along the

 20   lines of the order to show cause might be appropriate for them

 21   as well.

 22              THE COURT:   It sounds like there's a fair amount of

 23   compliance, and also some disagreement about whether certain

 24   accounts, you know, really are relevant or they're responsive,

 25   and that -- and so, you know, with that in mind what I
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 18 of 39 Pageid#: 4184
                                                                        18
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   would -- what I would think would be necessary is this:          Do

  2   you feel like the responses that you've received and the

  3   information that's been provided to the vendor is insufficient

  4   at this point that -- you know, once you feel like you've

  5   reached that point that it would really be incumbent upon the

  6   plaintiffs to file a motion to compel and allow the defendants

  7   to file formal responses on, you know, on each of the items so

  8   that I can see exactly what each party's position is on it,

  9   and then we'll move -- this has been outstanding for some

 10   time.   We'll move quickly and definitively on the -- I don't

 11   know that there's -- I don't think there's anything really

 12   complicated at this point.

 13             It's just a question of whether -- whether things

 14   should, you know, should be turned over or not; and if they

 15   haven't, then, you know, why not?       But I think that would

 16   probably be the way, way to go for it.       I don't think that --

 17   I don't think that just issuing a show cause when there's

 18   some -- some dispute, and, you know, at least a pretty good

 19   amount of compliance, I don't know that that's appropriate at

 20   this time.

 21             MR. BLOCH:   Understood, Judge.      Just a couple points

 22   of clarification.    One is, I think it would be our position

 23   that each of these things have previously been compelled by

 24   Your Honor by force of the order in November.

 25             It's hard for me to tell whether there's disagreement
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 19 of 39 Pageid#: 4185
                                                                        19
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   at this point about -- and obviously we can meet and confer

  2   again with defendants on this point if necessary.         But it's

  3   not clear to me that there's disagreement on certain things;

  4   including, for example, things like where defendants have

  5   not -- don't remember passwords and things like that, it would

  6   be our position that they ought to sort of take steps to

  7   recover passwords, which in my experience isn't, isn't such a

  8   difficult task, and turn it over.       And the same thing with

  9   Mr. Ray's laptop, for example.      It sounds like -- it's not

 10   clear to me that that -- that there's a sort of principled

 11   position to withhold some of these things.

 12             So I guess one -- one point of clarification we're

 13   wondering about is whether it's appropriate to move to compel

 14   to the extent there's just a disagreement on these issues or

 15   whether just to move for sanctions at this point.

 16             THE COURT:   I think you could do it either way.

 17   You're moving to compel or moving for the Court to issue a

 18   show cause.   I just don't think that I'm in a position, with

 19   the information in front of me right now, to just go ahead and

 20   issue a show cause order.      So I think there are a couple ways

 21   you can do it; it all gets to the same result.

 22             MR. BLOCH:   Okay.    The other just one -- the other

 23   thing I think may be worth clarifying is there may be a point

 24   of disagreement where I think defendants have -- it sounds

 25   like they have withheld certain accounts and potentially
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 20 of 39 Pageid#: 4186
                                                                        20
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   devices on grounds that they were -- I guess, probably mainly

  2   accounts, that they were created after the events in

  3   Charlottesville.

  4             It's our position, and I think it's fairly clear,

  5   that merely because an account was created after

  6   Charlottesville, it doesn't make it nonresponsive,

  7   particularly when they comment on the events that took place

  8   in Charlottesville.    And I think that applies certainly -- I

  9   think with all of the accounts that we have identified, but

 10   particularly the identity of Ropus [phonetic] servers were

 11   all -- a lot of them were created beyond the date of the

 12   incident in this case, but they still contain responsive

 13   materials.   And I'm not -- I don't know if there's

 14   disagreement on that point, but it does sound like that's the

 15   basis that a number of things have been withheld.

 16             THE COURT:   I'm sure that accounts created after

 17   August 2017 could hold responsive documents, so that's

 18   something that if it hasn't been discussed before, it

 19   certainly should be discussed by counsel.        And if there is --

 20   if there is some disagreement that, you know, the parties

 21   are -- are insisting on and their positions are firm, then I

 22   think you need to move forward with a formal motion.

 23             All right.   Mr. Bloch, anything else on the discovery

 24   issues?

 25             MR. BLOCH:   The only other thing, Judge, I think is
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 21 of 39 Pageid#: 4187
                                                                        21
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   we did -- and I appreciate defense counsel will be providing

  2   additional certifications for the various specific accounts

  3   that we asked about.     I do think it would be helpful for each

  4   party to submit an updated, comprehensive certification.

  5              I think the ones that we -- you know, we've been sort

  6   of chasing this down one by one.      As an account pops up, you

  7   know, we've been reaching out to defendants to try to confirm

  8   that, in fact, it is the defendants' account.        And so far, you

  9   know, our list is up to six, six defendants who we've found

 10   additional accounts for.     I suspect there may be more.       But

 11   it's becoming a cumbersome process to keep track of, and I

 12   guess -- I guess I'm specifically asking of defendants whether

 13   they would do that for each party so that we can have a -- we

 14   can understand the baseline that we're operating from going

 15   forward.

 16              THE COURT:   All right.   Mr. Kolenich, you indicated

 17   that Mr. Parrott and Mr. Kessler have updated their

 18   certifications.    Now, for your other clients, is that

 19   something that you're willing to do?       It seems reasonable when

 20   there have been a number of new devices and accounts that have

 21   surfaced through this process.

 22              MR. KOLENICH:   Your Honor, that certainly seems

 23   reasonable for the stuff we know about.        I mean, at some

 24   point -- you know, outside this litigation, I have clients who

 25   have dozens of Gmail, Hotmail accounts, most of which are
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 22 of 39 Pageid#: 4188
                                                                        22
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   defunct, they don't use, and if asked to certify, they would

  2   just not know, they would forget it, they don't have the

  3   password.

  4              I personally tried to recover an old Hotmail

  5   password, I can't do it, on an account of mine that hasn't

  6   been used for some years.

  7              Mr. Bloch and the entire plaintiffs, true, are

  8   attempting to litigate this case to a point of sanctions on

  9   discovery instead of, you know, what's reasonable for my

 10   clients.    It's not reasonable [indiscernible] know we're going

 11   to do one declaration, another declaration, another

 12   declaration.   There's no way for them to know.        They are not

 13   corporations, they do not have IT people, there's no way for

 14   them to know the entire universe of social media they're

 15   using.

 16              IE has already provided the Discord release.        Of

 17   course they knew they were using that.       That's a mistake by

 18   them.    It won't happen again.    It's a misunderstanding; that's

 19   all it was.

 20              Kessler and Parrott forgot about these rarely used

 21   accounts.    I got their supplemental decs; I will provide them

 22   today at some point.     But -- and this is directed not so much

 23   to the Court as to the plaintiffs' attorneys:        There is no way

 24   that they could possibly know every last social media account

 25   that they ever appeared on, whether before or after
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 23 of 39 Pageid#: 4189
                                                                        23
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   Charlottesville.    So to some extent, these declarations are

  2   not, you know, getting at a legitimate effort to get all, you

  3   know, the full universe of this [indiscernible] information.

  4              That said -- and I hope the Court understands that

  5   I'll provide declarations from my clients, you know, however

  6   many declarations they want -- it's not going to solve this

  7   problem.    It is never going to solve the problem, or there's

  8   no way to know how many different social media accounts they

  9   were on two years ago or last year, or what they've got going

 10   on now that they consider a complete side issue that may or

 11   may not contain the word "Charlottesville."

 12              So I think that we need to get through the CSI

 13   process, we need to get what's on the main device that these

 14   guys use, and then we need to have a fair analysis of the fact

 15   that they either do or do not have a case.        This process has

 16   to come to an end.    They're not entitled to discover every

 17   last syllable my men typed into the Internet ever, you know,

 18   thread that may have contained the word "Charlottesville."

 19   That's abusive and simply not provided by the civil rules.

 20              But I will confer with them, and I will cooperate

 21   fully and enthusiastically in getting them whatever satisfies

 22   them in the way of these declarations.

 23              And again, that's aside from Vanguard.       Vanguard

 24   richly deserves the order to show cause; I can't say

 25   otherwise.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 24 of 39 Pageid#: 4190
                                                                        24
            Sines, et al. v. Kessler, et al. - 3/18/19

  1             THE COURT:   All right.

  2             MR. BLOCH:   Judge -- sorry.

  3             THE COURT:   Mr. Bloch.

  4             MR. BLOCH:   If I may briefly, Judge.      Mr. Bloch.

  5   Obviously, all we're asking for is what was called for in the

  6   certifications and order by the Court, which is, you know, not

  7   every social media account that each party had, but just

  8   social media accounts that contained potentially responsive

  9   documents in the litigation.

 10             And the additional social media accounts that we have

 11   identified I think we were careful to -- to the extent we had

 12   any access to any part of it, we were careful to try to

 13   determine whether or not they were not only accounts that

 14   belonged to the parties, but whether they contained

 15   potentially responsive documents, and only raised with the

 16   defendants or with the Court accounts that seemed to fall in

 17   those categories.

 18             And so, you know, I certainly think that defendants

 19   should be held to the standard that is called for in the

 20   certifications, which is to certify under oath which of the

 21   social media accounts that they had and used that contained

 22   potentially responsive documents, which is the only way by

 23   which, you know, we can sort of move forward with the vendor

 24   in determining what is the universe of responsive documents

 25   out there.   So I'm only asking for certifications from each
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 25 of 39 Pageid#: 4191
                                                                        25
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   party that fall in that -- you know, under that definition.

  2             THE COURT:   All right.    And, you know, these

  3   certifications, I mean, this is a -- it's an involved and

  4   extensive process using the third-party vendor, so all of the

  5   parties who are signing certifications need to do their very

  6   best to get the information right in the first instance.

  7             This is also a discovery process, and every party has

  8   a duty to supplement, and, you know, your investigations have

  9   to be reasonable.    So if there are things that don't turn up

 10   on the first instance and there's a good reason why they

 11   didn't, the rules require, you know, a timely supplement, and

 12   so that's how I'm viewing these certifications.         It's not a --

 13   you know, it's not a trap to set up sanctions, but everybody

 14   needs to be doing their best to provide, you know, the

 15   information that's available to them that's relevant.

 16             MR. KOLENICH:    Jim Kolenich, Your Honor.      It's just

 17   going to continue going around in that circle.         It's my

 18   client's position that this new stuff is nonresponsive, not

 19   necessarily the IE, but the other two.       You know, they

 20   wouldn't have been included.      Even if they had been fully

 21   informed by their lawyer, they would have still taken the

 22   position it's not responsive.

 23             So, I mean, we're going to file the certification.

 24   We've given them the pass codes for this new stuff.         Several

 25   of my clients are fully wide open and cooperative to any
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 26 of 39 Pageid#: 4192
                                                                        26
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   electronic discovery, but, you know, they're saying, well, we

  2   just want what -- you know, we want to pin down the universe

  3   of responsive documents.

  4              They have a lot of social media that, by and large,

  5   is nonresponsive, and it's just never going to end with the

  6   plaintiff saying, "We found this one.       We found that one.     We

  7   found another one."      I'm sure there's 500 other social media

  8   accounts out there, but most of them are defunct, unused, or

  9   my guys [indiscernible].      We just can't provide it, and at

 10   some point it would be nice if the plaintiffs would admit to

 11   that fact.

 12              And, you know, take this Discord release.       All of it

 13   is already on the Internet, but they're going to come at us

 14   like we have some information that's not already out there.

 15   It's out there.    It's full and complete on that Unicorn Riot

 16   website.    There isn't anything else to get, but they're going

 17   to make a big deal, like, "Well, we need a certification.          We

 18   need this.    We need that."    Okay.   And they have it already.

 19   We have already complied with that.       I just, I would like the

 20   Court to know that there is no obfuscation going on on our

 21   part.

 22              MS. KAPLAN:    Your Honor, if I may respond to that.

 23   This is Ms. Kaplan.      That is not even close to being an

 24   accurate description of the record here.

 25              We are over a year into this case, Your Honor, and we
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 27 of 39 Pageid#: 4193
                                                                        27
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   have seen problem after problem after problem with trying get

  2   any discovery from these defendants.       The Discord release he's

  3   talking about we only know about because some people hacked

  4   into Discord and disclosed additional channels that defendants

  5   never told us about in this case, never disclosed, never said

  6   a word about.    And they now say, "Oh, we should just rely on

  7   what the hackers did because it's all now out there."

  8              This process has been, with all respect, Your Honor,

  9   a farce.    And we're not trying to get every document that

 10   defendants have.    We're trying to get every bit of information

 11   that still exists, that wasn't thrown in a toilet, that

 12   relates to Charlottesville.      And if they wrote about

 13   Charlottesville after Charlottesville, it's relevant.          You

 14   already said that, Your Honor.       It's not something to dispute.

 15              So we will do a motion, but we really think that at a

 16   certain point fines have to be implemented of $100 or more a

 17   day against each defendant, including Identity Evropa, who has

 18   already -- whose counsel has conceded are in contempt for

 19   failing to comply with the Court's orders.

 20              And I apologize for raising my voice, Your Honor, but

 21   it is just shocking to hear this.       Mr. Kolenich is just

 22   talking as if he's been cooperating in this case for the past

 23   16 months.    We have nothing.

 24              THE COURT:   All right.

 25              MR. DiNUCCI:   Your Honor, can we go --
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 28 of 39 Pageid#: 4194
                                                                        28
            Sines, et al. v. Kessler, et al. - 3/18/19

  1             MS. KAPLAN:    We take Your Honor's directions and we

  2   will submit a motion.

  3             THE COURT:    Yeah.    Mr. DiNucci, I haven't asked to

  4   hear from you.    Is there anything that you want to weigh in

  5   on?

  6             MR. DiNUCCI:    Yes, Your Honor.     With respect to

  7   compliance about an alleged affair to disclose accounts, this

  8   is the first I heard of this, assuming these remarks were even

  9   addressed to Mr. Spencer.       I haven't heard his name mentioned

 10   once.

 11             The report I saw this morning only fleetingly, as I

 12   was getting ready for an appearance in the Eastern District,

 13   didn't indicate any problems with Mr. Spencer.         So I don't

 14   know -- I mean, I'm assuming, but I shouldn't do that, that

 15   none of these prior remarks have anything to do with my

 16   client.   If they do, I'm not aware that anything has not been

 17   withheld that was supposed to have been disclosed.         Nobody has

 18   said a single thing, let alone a specific thing about my

 19   client.

 20             THE COURT:    I think the spreadsheet --

 21             MR. DiNUCCI:    I'm trying to --

 22             THE COURT:    I think the spreadsheet that the

 23   plaintiffs submitted, it looked like Mr. Spencer had turned

 24   over just about everything, and that I didn't see any problems

 25   there.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 29 of 39 Pageid#: 4195
                                                                        29
            Sines, et al. v. Kessler, et al. - 3/18/19

  1             Mr. Bloch, are you aware of any problems with

  2   Mr. Spencer's production?

  3             MR. BLOCH:    I'm not, Judge.

  4             MR. DiNUCCI:    If I may also add, Your Honor, I

  5   actually got an e-mail this morning from Ms. Vila in which she

  6   indicated that they're having problems doing a search of my

  7   client's e-mails because of the breadth of the search on

  8   account of one of the search terms provided by plaintiffs'

  9   counsel was the name Richard B. Spencer.

 10             I've been informed that they have found 153,000

 11   e-mails with that, and they're looking for me, but I've got to

 12   talk to opposing counsel for guidance on how to narrow that so

 13   that we're not going beyond needs proportional to that, or --

 14   you know, this is becoming disproportional to the needs of the

 15   case.   153,000 e-mails.    God forbid I should have to --

 16             MS. KAPLAN:    Your Honor, I'm quite --

 17             MR. DiNUCCI:    [Indiscernible].

 18             MS. KAPLAN:    I'm quite -- Your Honor, I'm quite

 19   confident that with all e-mail productions we gave search

 20   terms that are connected, so, obviously, we're not asking for

 21   anything -- any e-mail that has "Spencer" on it.         We're

 22   looking at e-mails that have "Spencer" with various terms, all

 23   of which --

 24             MR. DiNUCCI:    All I can say is that's what I was

 25   told --
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 30 of 39 Pageid#: 4196
                                                                        30
            Sines, et al. v. Kessler, et al. - 3/18/19

  1              MS. KAPLAN:    -- either Mr. Spencer's attorney --

  2              MR. DiNUCCI:   I'm sorry.    I'm sorry.

  3              MS. KAPLAN:    -- either Mr. Spencer's attorney or the

  4   vendor doesn't appreciate.      That, I'm sure, can be cleared up.

  5   But that's obviously not what we're asking for.

  6              MR. DiNUCCI:   No, I appreciate what you're saying,

  7   Ms. Kaplan, but I'm simply relaying what Ms. Vila told me this

  8   morning.    I would be happy to forward the e-mail to you.

  9              THE COURT:    That's probably something to follow up

 10   on, because I can't imagine the plaintiffs would put that as a

 11   search term.   That would certainly be overbroad.        All right.

 12              MR. STERN:    Your Honor, I have relevant information

 13   regarding the discovery.     Since you ordered me on the 1st of

 14   March to sign binding -- or IES to be able to be the vendor on

 15   the National Socialist Movement, we have actually -- my team

 16   has actually went into three social media accounts that I'm

 17   sure that wasn't disclosed, that we found shocking

 18   information.   You have National Social -- you have NSM88.org,

 19   you have NSMradio.org, and you have NSMmedia.org.         And you

 20   have Commander@newsects.org, which is the personal e-mail that

 21   Jeff -- the former commander was using for the National

 22   Socialist Movement.

 23              The information that we've gone through and saw in

 24   these accounts, some of it clearly identified actions of

 25   Charlottesville that was commented on in a very negative way
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 31 of 39 Pageid#: 4197
                                                                        31
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   of saying things that were -- I would assume the plaintiff

  2   would want.

  3             Now, I signed the document as you ordered, Your

  4   Honor, for them to be able to get access to stuff, but I have

  5   not been in communication with anybody about the other e-mails

  6   and the other social media cites that we found that do exist

  7   for the National Socialist Movement.       And so the attorney that

  8   I hired said he would actually take the time to make sure

  9   that, you know, this information is disseminated at the proper

 10   time, you know, if he's allowed to be able to substitute in.

 11             THE COURT:   All right.    And, Mr. Stern, I didn't see

 12   that the plaintiffs' e-mail and the spreadsheet, I don't think

 13   it identified anything specific about the National Socialist

 14   Movement, so that's why I haven't addressed any issues about

 15   it.

 16             But in general, without getting too granular on the

 17   discovery, you know, I do think that it's certainly time that

 18   if there are specific things that are outstanding, that all

 19   those be identified, you know, in a formal motion, if

 20   they're -- and then have the defendants respond to each item.

 21   And, you know, we're going to -- I think we need to bring it

 22   to a close.

 23             Another thing that I had flagged to discuss today is

 24   the case schedule going forward.      And I don't know that it

 25   makes as much sense to address that today since some of the
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 32 of 39 Pageid#: 4198
                                                                        32
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   discovery is still -- is still somewhat up in the air.          And I

  2   don't know whether you all have a good sense for what the new

  3   case deadlines would be at this point, how much more time you

  4   think you would need for the third-party vendor to complete

  5   its process and have the defendants review documents and

  6   provide them and schedule depositions.

  7             But, Mr. Bloch, do you have a sense of that at this

  8   point or is that premature?

  9             MR. BLOCH:   Judge, I think I agree with you that it's

 10   premature at this point.     I actually did speak to the vendor

 11   about 20 minutes before the call, and that was, frankly, her

 12   sense too, was that it's difficult for her to even provide a

 13   kind of remotely accurate estimate, in part because -- because

 14   of the accounts and devices that are still outstanding, and in

 15   part because the actual collection of social media accounts in

 16   particular I think is particularly cumbersome for them.          So I

 17   think I share your sense that it may be premature at this

 18   point and maybe makes more sense for us to schedule another

 19   call in the next few weeks when we may have a better estimate.

 20             THE COURT:   I think that's right, and I don't want

 21   this to get too far along before putting a schedule in place,

 22   but I also want to get one that's going to work.         So we will

 23   take that up at a status conference in the next couple weeks,

 24   certainly within a month.

 25             All right.   You know, I think there is one lingering
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 33 of 39 Pageid#: 4199
                                                                        33
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   issue about attorney status, and that's for the National

  2   Socialist Movement.

  3             Mr. ReBrook, I understand that you're intending to

  4   enter an appearance on behalf of that entity.

  5             And, Mr. Stern, I understand that you're in the

  6   process of hiring a lawyer, who is on the phone at this time,

  7   to enter an appearance behalf of that entity as well.

  8             And I just want to say this: that, you know, you

  9   all -- it seems like there's some dispute about who controls

 10   NSM, and that is just a sideshow to this case.         It doesn't

 11   have anything to do with this case, and, you know, I don't

 12   want it playing out in this case.

 13             The only thing that is -- that we really need for

 14   purposes of this case is a person who at this time is entitled

 15   to -- you know, to direct operations of NSM, whatever those

 16   operations are.    And so whoever that person is, and y'all may

 17   be fighting that out in another court, but whoever it is at

 18   this time is the person who can hire counsel to have that --

 19   have an attorney represent NSM.

 20             MR. STERN:    Your Honor, on that -- this is James

 21   Stern, Your Honor.     On that note there, for clarity, can we --

 22   can both parties who claim to own or have control of the NSM

 23   submit to you respectfully any documentation that shows they

 24   have control of the organization?       That way you can make a

 25   respected decision of saying who you're going to accept
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 34 of 39 Pageid#: 4200
                                                                        34
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   decisions from at this point.

  2             MR. SCHOEP:    Your Honor, if I may interject.       This is

  3   Jeff Schoep.   I'm the incorporator of the National Socialist

  4   Movement.   I had been running the organization for the last 27

  5   years.   Basically, Mr. Stern is trying to turn this into his

  6   15 minutes of fame, and a circus sideshow in the courtroom --

  7             THE COURT:    Look, I'm not going to -- I'm not going

  8   to have anybody turn it into a sideshow, and that's right

  9   where we're going right now.      So, yeah, I'm -- you know, I'm

 10   not inclined to, you know, to rule on this issue.         I mean,

 11   that is just -- it is a -- that is an issue for a separate

 12   court to decide.

 13             Neither of you can represent NSM yourselves, so I'm

 14   not going to hear from either of you on, you know, who is --

 15   who is operating or who is trying to control it.         You can have

 16   an attorney enter -- enter an appearance and we'll take it

 17   from there.    But, you know, there's no pro se representation

 18   of this entity and so --

 19             MR. STERN:    Okay.   So we just -- so I can be clear --

 20             THE COURT:    -- I think we're done on that.

 21             MR. STERN:    So I can be clear, we can have an

 22   attorney to enter an appearance, and then you guys -- between

 23   you and the attorneys, you guys will discuss it, work that

 24   out?   Is that correct, Your Honor?

 25             THE COURT:    That will be the first step.      But who
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 35 of 39 Pageid#: 4201
                                                                        35
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   controls this entity is -- I don't see that there's any

  2   federal jurisdiction for that, for that issue; it is a side

  3   issue.   Now, it may have to be resolved for purposes of this

  4   case who is going to, you know, exercise control over it, but

  5   that's something I'm going to take up another day if I have

  6   to.

  7             MR. STERN:   This case is going on right now in state

  8   court about that, Your Honor, so you're right.         I agree with

  9   you.

 10             THE COURT:   All right.    All right.    Is there anything

 11   else from the plaintiffs' perspective that we need to take up

 12   today?

 13             MR. BLOCH:   Judge, just to clarify, because we will

 14   be, obviously, needing to reach out to whoever represents NSM,

 15   and particularly the accounts that Mr. Schoep -- that

 16   Mr. Stern just mentioned I think were not on the original

 17   certification, so that will probably be my first order of

 18   business with them.    Is there a -- a timeline by which some --

 19   some attorney needs to enter a notice of appearance on behalf

 20   of NSM, and Nationalist Front for that matter?

 21             THE COURT:   Yeah.    It was set out in my order.      It's

 22   today.   And that will be, you know, part of the show cause

 23   order, if there hasn't been a notice of appearance entered on

 24   behalf of Nationalist Front and NSM.       Today is the deadline.

 25             MR. BLOCH:   Your Honor --
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 36 of 39 Pageid#: 4202
                                                                        36
            Sines, et al. v. Kessler, et al. - 3/18/19

  1              MR. SCHOEP:    Your Honor, this is Jeff Schoep again,

  2   and my attorney is on the line.      And I have the state

  3   incorporation papers and everything else that's needed, so

  4   anything that you guys need as far as, you know, evidence on

  5   that, you know, my attorney can outline that.        And it's very

  6   clear on the state incorporation web sites and all, and

  7   everything else -- you know, web sites and everything else

  8   who's --

  9              THE COURT:    He can -- he can -- he can file what he

 10   needs to after he has noted his appearance.

 11              MR. SCHOEP:    Understood.

 12              MR. ReBROOK:   Your Honor, this is Edward ReBrook, if

 13   I may.

 14              THE COURT:    Sure.   Go ahead.

 15              MR. ReBROOK:   I have gone through the process to sign

 16   up for the ECF within the Western District.        I have not yet

 17   received my log-in information for that.         And it's rather late

 18   in the day; it's about 5:00 o'clock.         I would absolutely

 19   comply with the Court and submit my notice of appearance if I

 20   were fittedly able to do so.       But I defer to the Court's

 21   judgment on how you wish for me to proceed.

 22              THE COURT:    I'll make sure the clerk's office knows

 23   about that.

 24              MR. ReBROOK:   Thank you, Your Honor.

 25              MR. STERN:    Your Honor, one question -- a request.
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 37 of 39 Pageid#: 4203
                                                                        37
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   Today is the 18th, the day that you required us to have

  2   counsel for the corporation.       The fact that we have -- I have

  3   shown good faith that I've been fighting for this

  4   organization, and the fact that I have actually spoke to

  5   counsel to have counsel to substitute in, can I ask the Court

  6   to give me five days to be able to have this attorney to have

  7   the certifications to complete?      That way we can -- he can

  8   make his appearance?     Can I ask for that, for five days?

  9             I do -- Your Honor, just so you know, I have actually

 10   stopped my life trying to make sure I comply with the Court,

 11   make sure everything that the plaintiffs are asking for.          And,

 12   you know, as I said, I would just ask for the consideration of

 13   just five days so I can make sure the attorney that we do have

 14   that wants to do it can make his appearance properly.

 15             THE COURT:   Mr. Stern, the attorney that you've been

 16   speaking with, you've obviously made steps towards that, and

 17   he's on the phone and hopefully in the process of getting

 18   admitted in the district so that he can file a notice of

 19   appearance.   So, you know, I'll give you until the end of the

 20   week on that.

 21             MR. STERN:   Thank you.     And one other quick question.

 22   Does the Court want me to submit any of the state attorney

 23   general's criminal investigation on this case?

 24             THE COURT:   No.   No.   You may not submit anything.

 25   You are not representing NSM.      You can have an attorney do
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 38 of 39 Pageid#: 4204
                                                                        38
            Sines, et al. v. Kessler, et al. - 3/18/19

  1   that, and you have until Friday.

  2             MR. STERN:   Okay.    Gotcha.   Thank you.

  3             THE COURT:   All right.    All right, Mr. Bloch, is

  4   there anything else?

  5             MR. BLOCH:   Judge, I think that's it.       That's it from

  6   the plaintiffs.    Thank you.

  7             THE COURT:   Mr. Kolenich?

  8             MR. KOLENICH:    Nothing further, Your Honor.

  9             THE COURT:   Mr. DiNucci?

 10             MR. DiNUCCI:    Nothing further, Your Honor.

 11             THE COURT:   Mr. Jones?

 12             MR. JONES:   Nothing further, Your Honor.

 13             THE COURT:   All right.    Anything from anybody else?

 14        (No response.)

 15             THE COURT:   Okay.    All right, well thank you and have

 16   a good day.

 17             UNIDENTIFIED MALE VOICE:      Thank you, Your Honor.

 18             UNIDENTIFIED MALE VOICE:      Thank you, Judge.

 19        (Court recessed at 5:00 p.m.)

 20

 21

 22

 23

 24

 25
Case 3:17-cv-00072-NKM-JCH Document 455 Filed 03/20/19 Page 39 of 39 Pageid#: 4205
                                                                        39
            Sines, et al. v. Kessler, et al. - 3/18/19

  1                                CERTIFICATE

  2   I, Judy K. Webb, certify that the foregoing is a

  3   correct transcript from the record of proceedings in

  4   the above-entitled matter.

  5

  6   /s/   Judy K. Webb                 Date:   3/20/2019

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
